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     STRATEGIC PARTNERS, INC.
13
                       UNITED STATES DISTRICT COURT
14
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                 Case No.: 2:19-cv-02286-GW-KSx
     STRATEGIC PARTNERS, INC.,
16
                                   FIFTH AMENDED COMPLAINT FOR:
17               Plaintiff,        1. FALSE ADVERTISING IN
                                      VIOLATION OF 15 U.S.C. § 1125(a);
18                                 2. UNFAIR BUSINESS PRACTICES;
           v.
19                                 3. UNFAIR BUSINESS PRACTICES;
     FIGS, INC., CATHERINE         4. UNTRUE AND MISLEADING
20                                    ADVERTISING;
     (“TRINA”) SPEAR, HEATHER
21   HASSON,                       5. INTENTIONAL INTERFERENCE
                                      WITH PROSPECTIVE ECONOMIC
22                                    RELATIONS;
                 Defendants.       6. CONVERSION;
23
                                   7. BREACH OF FIDUCIARY DUTY;
24                                    and
25                                 8. AIDING AND ABETTING BREACH
                                      OF FIDUCIARY DUTY.
26                                 DEMAND FOR JURY TRIAL
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28                                     1
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1            Plaintiff Strategic Partners, Inc. (“SPI” or “Plaintiff”) hereby alleges, by the
2      undersigned attorneys, upon personal information as to itself, and upon
3      information and belief as to all other allegations, as follows:
4                                 NATURE OF THE ACTION
5            1.     Defendant FIGS, Inc. (“FIGS”), and its co-founders and current
6      executives Defendant Catherine “Trina” Spear (“Spear”) and Defendant Heather
7      Hasson (collectively “Defendants”) crashed into the scrubs market in 2012 under
8      dubious circumstances and has proceeded to recklessly advertise the antimicrobial
9      properties of its scrubs—making false and misleading statements for the sake of
10     gaining market share at any cost.
11           2.     FIGS manufactures and sells various types of scrubs and other
12     apparel, including scrubs, scrub tops, scrub bottoms, under-scrubs, lab coats, shirts,
13     pants, jackets (collectively the “FIGS Products”).
14           3.     On information and belief, FIGS, which began as a necktie company,
15     changed its business model into a scrubs company after Defendant Trina Spear
16     accessed confidential information and data regarding the medical apparel industry
17     from her then-employer Blackstone Group Holdings, L.P. (“Blackstone”), and on
18     information and belief, together with Defendant Heather Hasson (and the name
19     from her previous necktie company), used said confidential information to launch
20     FIGS as a scrubs company. On information and belief, Plaintiff believes this was
21     SPI’s confidential information and data because Blackstone was in possession of
22     that information at the time.
23           4.     Furthering FIGS’s goal to grow as a company at any cost, FIGS next
24     made unsupportable claims regarding its FIGS Products through its advertising,
25     marketing, and branding that its FIGS Products protect healthcare workers by
26     reducing hospital-acquired infection rates by 66%.
27           5.     FIGS’s representations are untrue, misleading, and reasonably likely
28     to deceive consumers, who consist of healthcare executives, hospital executives,
                                             2
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1    retailers, resellers, and healthcare workers, including medical, dental, and
2    veterinary professionals, who purchase the FIGS Products. In so doing, FIGS has
3    used its false and misleading representations to obtain media attention, move sales,
4    improve their search results, charge higher prices, and raise capital.      Further
5    compounding the danger of making untrue and misleading claims, FIGS’s health
6    claims and public relations efforts have caused media outlets to repeat and
7    disseminate FIGS’s false and misleading claims about Defendants’ FIGS’s
8    Products.   Specifically, Defendants have disseminated false and misleading
9    information through press releases, press interviews, investor materials, online
10   advertisements, social media, and social media influencers, which have induced
11   consumers into purchasing the FIGS’s Products. FIGS’s false and misleading
12   claims have helped it obtain tens of millions of dollars in funding, enabling FIGS
13   to continue to spread its false claims to the public and unfairly build its brand
14   through additional advertisements.       As a result of FIGS’s campaign of
15   misrepresentations, FIGS was able to obtain investment from others, including
16   venture capitalists, such as, for example, Thomas Tull, who invested $75 million
17   into FIGS, further funding FIGS’s misrepresentations.
18         6.    FIGS’s untrue health claims endanger and/or endangered healthcare
19   workers, their patients, and the public, rather than protecting them. In the current
20   COVID-19 coronavirus pandemic, which is the latest and worst of numerous
21   similar epidemics over the past decade, such as SARS, MERS, N1H1, Ebola, and
22   the like, the danger of untrue health claims, upon which health care professionals
23   and consumers rely, could not be more clear. Creating a false perception that a
24   certain kind of scrubs can protect the wearer from infectious diseases or bacteria—
25   when they cannot—stands to affect the behavior of those healthcare workers, their
26   patients, and the public who may wrongly rely on their scrubs for protection rather
27   than following other available or proper sanitation procedures.
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1          7.       Plaintiff is informed and believes, and based thereon alleges that
2    healthcare workers and employers purchase FIGS’s products due to FIGS’s false
3    and misleading statements. Worse yet, FIGS’s false and misleading claims,
4    advertising and marketing are harming consumers by creating an unsafe belief that
5    FIGS’s Products can protect the wearer from infectious diseases or bacteria, when
6    they cannot.
7          8.       On information and belief, a large percentage of wearers of scrubs
8    have little knowledge of antimicrobial technologies and their impact.            By
9    representing that FIGS’s scrubs kill bacteria immediately upon contact, or reduce
10   hospital acquired infection rates by 66%, or are hospital-approved, FIGS is
11   misleading consumers and creating a false differentiation between its scrubs and
12   the scrubs of other companies, for the purpose of allowing FIGS to move sales,
13   charge higher prices and gain an unfair competitive advantage. FIGS’s unfair
14   competitive advantage in turn enabled and/or enables FIGS to gain more revenue,
15   raise more capital, drive more impressions, media coverage, drive search rankings,
16   and buy more advertising, which further perpetuated and/or perpetuates the false
17   and misleading claims made by FIGS at the start.
18         9.       FIGS’s actions are also harming competitors in the medical-wearing
19   apparel industry such as Plaintiff. Plaintiff manufactures and sells competing
20   medical scrubs, lab coats, and other garments for use in the medical health
21   profession. Plaintiff is unable to fairly compete due to the benefits FIGS has
22   derived and continues to derive from FIGS’s false and misleading claims.
23         10.      Healthcare executives, retailers, and medical consumers who were
24   and/or are exposed to FIGS’s false and misleading statements—directly or in the
25   press or from FIGS’s social influencers—have acquired and/or will likely acquire
26   the incorrect belief that FIGS’s products are superior to its competitor’s products,
27   including Plaintiff’s.
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1          11.    On information and belief, FIGS’s false and misleading claims have
2    created a false impression in the minds of consumers that FIGS’s products can do
3    things that Plaintiff’s products cannot, and further that because of those abilities
4    they are better or worth more, when they are not. In a time of the COVID-19
5    coronavirus pandemic, as following numerous similar epidemics over the past
6    decade, such as SARS, MERS, N1H1, Ebola, and the like, the danger of untrue
7    health claims, claims upon which health care professionals and consumers rely,
8    could not be more self-evident.
9          12.    The systematic promulgation of FIGS’s false and misleading claims
10   concerning the properties and qualities of the FIGS Products has allowed it to gain
11   market share at the expense of its competitors. Furthermore, FIGS’s false and
12   misleading claims jeopardize the safety of the consumers who purchase the FIGS
13   Products (and the patients they care for), as those consumers are likely to believe
14   the FIGS Products provide them with certain claimed protections which testing has
15   shown that the FIGS Products do not. Additionally, FIGS’s false and misleading
16   claims have enabled it to raise millions of dollars in funding, build public relations
17   campaigns, spend vast amounts on advertising and promotion, and obtain the
18   benefits of social influencers.
19         13.    Additionally,    on   information   and    belief,   FIGS    has   made
20   misrepresentations regarding its donations via its “Threads for Threads” program,
21   namely that they have donated hundreds of thousands of scrubs internationally, or
22   that those scrubs are antimicrobial of the same type sold in the United States.
23   FIGS has produced no evidence as to the number or type of scrubs allegedly
24   donated in their one-for-one donation scheme. On information and belief, FIGS
25   has not donated one set of the same scrubs for every set of scrubs sold. Rather,
26   FIGS has donated, if at all, lower cost scrubs that are different than the scrubs
27   consumers are purchasing in the United States. These misrepresentations regarding
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1    donations are part of FIGS’s broader plan to deceive the public into believing that
2    FIGS and FIGS scrubs are special, when they are not special. FIGS is making
3    these misrepresentations—both as to the amount and the type of scrubs—to
4    increase attention, increase press, increase search rankings, increase sales, increase
5    price, and attract investors. Plaintiff is informed and believes that FIGS makes
6    these misrepresentation as part of its sued-upon deceptive advertising and
7    marketing scheme to curry favor and goodwill among consumers to induce
8    consumers to purchase FIGS scrubs to support the false and misleading Threads
9    for Threads program, thereby further inducing consumers not to purchase scrubs
10   from Plaintiff and other competitors, as part of FIGS’s false, deceiving and unfair
11   business practice.
12          14.    SPI has been harmed by FIGS’s false advertising as FIGS has
13   acquired market share at the expense of SPI due to FIGS’s false advertising, thus
14   costing SPI revenues and profits it should have earned.
15                                     THE PARTIES
16          15.    At all times mentioned herein, Plaintiff was, and now is a resident of
17   California, with a principal place of business at 9800 De Soto Avenue, Chatsworth,
18   California.
19          16.    SPI was established in 1995 and is the leader in the design,
20   manufacture and distribution of high-quality, fashion-inspired medical apparel,
21   medical footwear, medical accessories and school uniforms, with products sold
22   through uniform shops, Internet retailers, specialty catalogs and mass-market
23   retailers.    As set forth above, Plaintiff manufactures and sells competing
24   antimicrobial medical scrubs, lab coats, and other garments for use in the medical
25   health profession. The SPI products that are relevant here include medical apparel.
26   SPI designs, manufactures and distributes under the Cherokee®, Dickies®,
27   HeartSoul, Elle, Code Happy®, Scrubstar, and Disney® Brands.
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1          17.    FIGS, Inc. is an online medical apparel retailer based in Los Angeles,
2    California, and founded in 2012. The company sells scrubs in a variety of colors
3    and styles. Hasson and Spear serve as co-CEOs of FIGS.
4          18.    On information and belief, Spear and Hasson are both residents of Los
5    Angeles, California. On information and belief, FIGS is a Delaware corporation
6    with a principal place of business located at 11390 West Olympic Boulevard,
7    Studio 280, Los Angeles, CA 90064.
8                              JURISDICTION AND VENUE
9          19.    This Court has personal jurisdiction over Defendants because
10   Defendants have extensive contacts with, and conducts business within, the State
11   of California and this judicial district, specifically including selling FIGS Products
12   online and in one or more brick-and-mortar locations within the state of California.
13   Further, on information and belief, Defendants Spear and Hasson are residents of
14   California and reside within this judicial district.
15         20.    This Court has federal question subject matter jurisdiction pursuant to
16   28 U.S.C. §§ 1331 and 1338 over Plaintiff’s First Cause of Action for violations of
17   15 U.S.C. § 1125(a), the Lanham Act.
18         21.    This Court has supplemental jurisdiction pursuant to 28 U.S.C.
19   §§ 1338 & 1367 over Plaintiff’s remaining causes of action, as the state law claims
20   are so related to the federal claims that they form part of the same case or
21   controversy and derive from a common nucleus of operative facts under Article III
22   of the United States Constitution.
23         22.    This Court has personal jurisdiction over Defendants because
24   Defendants’ principal place of business is in, has extensive contacts with, and
25   conducts business within, the State of California and this judicial district. Further,
26   Defendants have made false and/or misleading statements in its advertising in this
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1    district, thereby harming consumers, as well as competitors such as Plaintiff, in this
2    district, and thereby causing injury to Plaintiff in this judicial district.
3           23.     Venue is proper in this Court because a substantial part of the events
4    giving rise to the claims herein occurred in this district. Defendants made false
5    and/or misleading statements in its advertising in this venue thereby harming
6    consumers, as well as competitors such as Plaintiff, in this venue. Venue is further
7    appropriate in this Court because Plaintiff’s principal place of business is located
8    within this judicial district. 28 U.S.C. § 1391(c). Further still, venue is proper in
9    this Court because this Court has personal jurisdiction over Defendant. 28 U.S.C.
10   § 1391(b).
11          24.     Further, Defendants intentionally made its untrue and misleading
12   statements to consumers in this district, thereby harming competitors such as
13   Plaintiff in this district, and thereby causing injury to Plaintiff in this judicial
14   district.
15          25.     Venue is proper in this Court because a substantial part of the events
16   giving rise to the claims herein occurred in this district. Defendants intentionally
17   made false and misleading statements to consumers in this venue, thereby harming
18   competitors such as Plaintiff in this district, and thereby causing injury to Plaintiff
19   in this district.
20                        CLAIMS COMMON TO ALL COUNTS
21                             FIGS’s Unscrupulous Beginning
22          26.     The medical apparel industry is a multi-billion-dollar industry—
23   approximately $1.5 to 1.7 billion at retail—comprising sales of scrubs, lab coats,
24   and related apparel each year. Spear decided to enter the medical apparel market
25   while employed at Blackstone. On information and belief, while employed at
26   Blackstone, Spear improperly obtained information regarding the scrubs industry
27   from Blackstone, in violation Blackstone’s Code of Business Conduct and Ethics
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1    (“Code of Ethics”) applicable to its employees to prevent them from doing just
2    what Ms. Spear did:
3
                 Because all Confidential Information constitutes a
4                valuable asset of the Firm, without the prior written
5                consent of the Firm (which may be given or withheld in
                 the Firm’s sole discretion) or unless legally mandated, no
6                employee or member of the Firm may, while he or she is
7                employed by or associated with the Firm or at any time
                 thereafter, (a) disclose any Confidential Information to
8                any person except in furtherance of the business of the
9                Firm, (b) make any other use of any Confidential
                 Information except in the business of the Firm and in a
10               manner which at all times is intended to serve the
11               interests of the Firm. . . .

12   (Code of Business Conduct and Ethics, The Blackstone Group, L.P., January 2014,
13   available                                                                         at
14   https://www.sec.gov/Archives/edgar/data/1516212/000119312514385283/d799412
15   dex99piv.htm, emphasis added.)
16         27.   Notwithstanding the above, Spear knowingly violated Blackstone’s
17   Code of Business Conduct and Ethics and admitted her wrongdoing publicly.
18   Spear has stated publicly on multiple occasions that in advance of joining FIGS
19   with Hasson that she did so after acquiring a confidential report from her then-
20   employer Blackstone and sharing that information with Hasson. Specifically, in
21   the Miami Hustle Series podcast, entitled “042: The FIGS story – Trina Spear and
22   making healthcare more comfortable for everyone,” Spear claimed that while at
23   Blackstone, “we were looking to acquire the largest company in the industry, so I
24   had sent Heather the like 300-page report that I had worked on, and she was like
25   ‘what is this, how do you have this?’ So it was very fascinating for her to see, you
26   know, a lot of information about the market and the players” This podcast was
27   originally available at https://www.stitcher.com/podcast/fretzie-3/miami-hustle-
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1    series/e/48007776?autoplay=true.) Since this litigation commenced, this podcast is
2    no longer available at that location. A true and correct copy of this podcast is
3    available    through      counsel     for   SPI      at   https://mrllp.sharefile.com/d-
4    sdcab8400c0847188. Spear’s admission in the interview occurs at approximately
5    the 5:35 to 6:25 mark of the podcast.
6           28.   On information and belief that the “largest company in the industry”
7    that Spear was referring to was SPI, and that the 300-page report also related to
8    SPI.
9           29.   Further, Spear stated in an interview with Refresh Miami on April 8,
10   2018 that she sent “super confidential” Blackstone materials to Hasson in violation
11   of Blackstone’s Code of Business Conduct and Ethics. Specifically, Spear stated
12   in a YouTube video of that interview as follows:
13                “I’m in New York, was working at Blackstone. I did a
                  private equity deal in the medical apparel space.
14
                  Random. Sent her [Hasson] all the materials I’d worked
15                on. That can’t leave this room. They are super
                  confidential. I will end up somewhere, so, everyone do
16
                  not Tweet about that . . . So, we talked on a Monday.
17                Fly out to LA on a Friday. We start working together.
                  Spent about 6 months. Wait until I get my bonus at
18
                  Blackstone. Liquidate my 401(k). Move to LA. Put all
19                my money into the business.”
20   This         interview              was          originally        available          at
21   https://www.youtube.com/watch?v=OfqPiOn7uBI.                  Since     this   litigation
22   commenced, this video is no longer available at that location. A true and correct
23   copy    of   this      video   is    available    through     counsel    for   SPI    at
24   https://mrllp.sharefile.com/d-sdcab8400c0847188. Spear’s admissions in the April
25   8, 2018 video appear at approximately the 17:50 mark and continue until the 18:50
26   mark in the interview.
27   ///
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1          30.    On information and belief, the data obtained by Spear from
2    Blackstone included information, knowledge, facts, and concepts related to the
3    medical apparel industry, namely scrubs (the “Blackstone Information”).          On
4    information and belief, Plaintiff believes this was SPI’s confidential information
5    and data because Blackstone was in possession of that information at the time.
6          31.    SPI is informed and believes that the “deal in the medical apparel
7    space” related to a deal involving SPI and Blackstone.
8          32.    Spear’s comments above indicate her awareness and understanding of
9    both Blackstone’s Code of Business Conduct and Ethics and her duty of
10   confidentiality to Blackstone.
11         33.    On information and belief, FIGS, including Spear and Hasson, used
12   the information they wrongfully obtained from Blackstone to allow FIGS to
13   unfairly compete against Plaintiff and others in the industry, including raising
14   millions of dollars in funding. Specifically, on information and belief, Spear used
15   the information to falsely present herself as an expert in the industry to gain
16   credibility with investors and raise capital.
17                        FIGS’s False and Misleading Statements
18         34.    A major concern in the medical health profession is the prevention of
19   the transmission of infectious diseases. Healthcare workers are occupationally
20   exposed to infectious diseases during the performance of their duties. According
21   to the United States Department of Labor, one of the primary routes of
22   transmission in healthcare settings is through contact—both direct and indirect—
23   which involves the transfer of infectious agents from the infected individual
24   through       physical      contact.       (www.osha.gov/SLTC/healthcarefacilities/
25   infectious_diseases.html, last visited January 24, 2019 [TCF].)
26         35.    Healthcare workers and others in the medical health profession are
27   active participants in the efforts to prevent the transmission of infectious agents.
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1    The Department of Labor’s Occupational Safety and Health Administration
2    (“OSHA”) has several standards and directives that “are directly applicable to
3    protecting     workers     against     transmission      of     infectious      agents.”
4    (www.osha.gov/SLTC/healthcarefacilities/infectious_diseases.html,        last    visited
5    January 24, 2019 [TCF].)        Similarly, the Centers for Disease Control and
6    Prevention’s Healthcare Infection Control Practices Advisory Committee
7    (“HICPAC”) has guidelines that detail routine day-to-day infection control
8    measures, which “focuses primarily on interactions between patients and
9    healthcare providers.” (www.cdc.gov/hicpac/pdf/isolation/Isolation2007.pdf, last
10   visited January 24, 2019 [TCF].) The purpose of these guidelines, in combination
11   with others, is to “provide comprehensive guidance on the primary infection
12   control measures for ensuring a safe environment for patients and healthcare
13   personnel.” (Id.)
14         36.    The HICPAC guidelines note that indirect and direct contact are the
15   most common modes of transmission of infectious agents, and that “[c]lothing,
16   uniforms, laboratory coats or isolation gowns used as personal protective
17   equipment (PPE), may become contaminated with potential pathogens after care of
18   a patient colonized or infected with an infectious agent [ ].” (Id.) The guidelines
19   further note that “[a]lthough contaminated clothing has not been implicated
20   directly in transmission, the potential exists for soiled garments to transfer
21   infectious agents to successive patients.” (Id.)
22         37.    The CDC guidelines specifically stress that the “prevention and
23   control of [multi-drug resistant organisms] is a national priority.” (Id.)
24         38.    FIGS advertises and promotes its FIGS Products online, through its
25   product website at www.wearfigs.com. FIGS also advertises its FIGS Products
26   online through social media websites, including Instagram®, Facebook®, Twitter®
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1    and through other social media avenues. Additionally, FIGS advertises in physical
2    locations such as on billboards, bus shelters, and subways.
3          39.    FIGS has distributed and continues to distribute advertisements and
4    promotions that contain false and misleading statements about the qualities and
5    properties of its FIGS Products through, at least, its own websites and social media
6    accounts. Due to the nature of the Internet, this distribution constitutes interstate
7    commerce and misleads the press, as well.
8          40.    FIGS sells its products online through its own website, and through
9    online retailers. Due to the nature of the Internet, these sales constitute interstate
10   commerce.
11         41.    On information and belief, FIGS has charged and is charging a
12   premium price for its FIGS Products based on its false and misleading statements.
13         42.    Many healthcare workers wear medical scrubs as part of their daily
14   work uniform. The claims made by FIGS, including that the FIGS Products reduce
15   hospital acquired infections (“HAIs”) by 66%, deceive, or have a tendency to
16   deceive the press, as well as a substantial segment of consumers of the FIGS
17   Products. This deception is material in that it concerns the qualities and properties
18   of the FIGS Products. FIGS leveraged these claims to garner immense amounts of
19   media and press, and that press drove up FIGS’s brand in search rankings and gave
20   FIGS credibility with investors. Due to the serious concerns over preventing the
21   transmission of infection diseases, Defendant FIGS’s false and misleading
22   statements and the press, search rankings and word of mouth generated from them
23   are likely to influence the purchasing decisions of consumers, particularly
24   healthcare workers and others in the medical health profession who actively seek
25   to reduce the transmission of infectious agents.
26         43.    On information and belief, FIGS has purchased search terms for
27   “Cherokee,” “Dickies,” “Scrubs,” “Uniforms,” among others.
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1          44.    FIGS, through Spear and Hasson, made false statements regarding the
2    antimicrobial properties of Defendants’ FIGS Products through FIGS’s social
3    media or to traditional media outlets. Alternatively, FIGS, through Spear and
4    Hasson, made false statements regarding the properties and qualities of the FIGS
5    Products through brand partnerships with media outlets, medical referral sources,
6    direct advertisers, advertisements, and/or social media influencers to repeat those
7    false statements, which FIGS knew would be disseminated to consumers.
8          45.    FIGS has made and continues to make the false and misleading health
9    claim that its FIGS Products will protect healthcare workers and their patients from
10   dangerous contaminants. One such claim FIGS has made is the statement that
11   “FIGS antimicrobial fabric reduces hospital acquired infection rates by 66%.” The
12   claim is false and misleading, yet FIGS has been making the claim for years:
13               a.   From at least as early as September 2013 through February
14                    2015, FIGS’s website (wearfigs.com) included the statement
15                    that: “Many medical professionals in impoverished areas are
16                    poorly compensated for their hard work and dedication.
17                    They simply do not have enough money for costly medical
18                    uniforms. Without the proper medical attire, the spreading of
19                    disease and illness increases exponentially. Clean scrubs
20                    reduce the hospital-acquired infection rate by 66% and
21                    result in millions of dollars saved from unnecessary
22                    treatments.”
23               b.   From at least as early as April 2015 through January 2017,
24                    FIGS’s website (http://www.wearfigs.com/pages/threads-
25                    for-threads) included the statement that: “Many medical
26                    professionals in resource-poor areas do not have access to
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1                        basic medical supplies including scrubs. Clean scrubs
2                        reduce hospital-acquired infection rates by 66%.”
3                   c.   From at least as early as May 2018 through February 2019,
4                        FIGS’s website (https://www.wearfigs.com/pages/threads-
5                        for-threads)   included   the    statement    that   “FIGS
6                        antimicrobial fabric reduces hospital acquired infection
7                        rates by 66%.”
8             46.    On information and belief, FIGS does not have a study that supports a
9    claim that its antimicrobial fabric/scrubs can reduce HAIs by 66% or any similar
10   claim.
11            47.    Plaintiff is informed and believe that Defendants, and each of them,
12   knew, or should have known, that the statement regarding this health statement
13   concerning the FIGS Products was false and/or misleading.
14            48.    Plaintiff has performed testing that contradicts Defendants’ statement
15   that “FIGS antimicrobial fabric reduces hospital acquired infection rates by 66%.”
16   FIGS’s statement is false, misleading, and likely to confuse consumers.
17            49.    Furthermore, contrary to Defendants’ statements, the fabric used in
18   the FIGS Products does not pass tests related to the effectiveness of a fluid barrier
19   according to what FIGS claims is present in the FIGS Products.
20            50.    Based on the above, Spear’s statement in an article published on
21   November 3, 2015 regarding the properties and qualities of the FIGS Products is
22   false and misleading. In that article in the Miami Herald, Spear stated:
23                   We were the first company to develop an anti-microbial
24                   treatment so that bacteria and infection and fluids aren’t
                     seeping through and harming the medical professional.
25                   That was important to us,” Spear said. “our fabric is
26                   stain-repellent and has moisture wicking abilities.”

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1          51.    Furthermore, FIGS was not the first company to develop antimicrobial
2    treatments for fabric or for scrubs. Nor was FIGS the first company to use fluid
3    barrier technology in scrubs.
4          52.    On information and belief, Defendants, and each of them, knew or
5    should have known that the FIGS Products did not reduce HAIs by 66%. FIGS’s
6    claims about a reduction in HAIs constitute health claims.
7          53.    An image of one of FIGS’s advertising statements, as of January 8,
8    2019, is as follows:
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18   Figure 1 - (https://www.wearfigs.com/pages/threads-for-threads, last visited
19   1/8/2019 [TCF].)
20         54.    FIGS has made and/or continues to make other misleading claims
21   regarding its FIGS Products, such as the claim FIGS reported on its blog that “We
22   [FIGS] have donated over 90,000 sets of scrubs in 26 countries and have reduced
23   the hospital acquired infection rate by 66% in the areas we have donated to.” (See
24   https://www.wearfigs.com/blogs/news/why-i-took-on-the-medical-apparel-
25   industry.)
26         55.    FIGS has made varying claims regarding the number of scrubs it has
27   donated via its “Threads for Threads” program. At one point, FIGS has claimed to
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1    have donated 500,000 sets of scrubs. On information and belief, FIGS’s claim to
2    have donated hundreds of thousands of scrubs is false. On information and belief,
3    FIGS has overstated this number to garner media attention, press and influence
4    customers to pay a higher price for FIGS and purchase more from FIGS.
5             56.   On information and belief, FIGS’s claim to donate one set of scrubs
6    for every set of scrubs purchased is false. On information and belief, FIGS has
7    overstated this number to garner media attention and press, and to charge
8    consumers higher prices and to garner more sales. On information and belief,
9    FIGS has not donated one set of the same scrubs for every set of scrubs sold.
10   Rather, FIGS has donated, if at all, lower cost scrubs that are different than the
11   scrubs consumers are purchasing in the United States. Plaintiff is informed and
12   believes that FIGS makes these misrepresentation as part of its sued-upon
13   deceptive advertising and marketing scheme to curry favor and goodwill among
14   consumers to induce consumers to purchase FIGS scrubs to support the false and
15   misleading Threads for Threads program, thereby further inducing consumers not
16   to purchase scrubs from Plaintiff and other competitors, as part of FIGS’s false,
17   deceiving and unfair business practice.
18            57.   The hangtag on FIGS’s products, reproduced below, further includes
19   the language that it is “ANTIMICROBIAL: Kills bacteria and infection
20   immediately on contact.” This language is a health claim. On information and
21   belief, FIGS does not have a study to support this health claim. On information
22   and belief, FIGS has knowingly violated EPA regulations regarding this health
23   claim.
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14   Figure 2 - “FIGS hangtag” stating that the product is “Antimicrobial” and
15   “Kills bacteria and infection immediately on contact.”
16         58.   Plaintiff knows of testing done on the FIGS Products that shows
17   bacteria is not killed upon contact with the product or even up to 90 minutes after
18   contact. Thus, FIGS’s claim that the FIGS Products “kill[s] bacteria and infection
19   immediately on contact” is false.
20         59.   Despite the falsity and lack of support for FIGS’s misrepresentations
21   regarding the FIGS Products’ properties and qualities, these misrepresentations
22   have been repeated by the blog “Nurse Abnormalities.”
23         60.   Specifically, the Nurse Abnormalities blog states:
24               FIGS is not your average scrub company. For every pair
25               of scrubs sold, they provide a pair to healthcare providers
                 in need. Many medical professionals in high-needs areas
26               do not have clean scrubs. Clean scrubs can reduce
27               hospital-acquired infections by 66% – this is a

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1                 company with a mission larger than providing great
                  looking scrubs.
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3    (http://nurseabnormalities.com/2017/08/01/a-love-affair-for-figs-scrubs/.)
4    (Emphasis added.)
5           61.   This article demonstrates that FIGS’s false and misleading statements
6    are being disseminated to potential purchasers of the FIGS Products. Specifically,
7    this blog repeats the unsupported assertion that the FIGS Products reduce HAIs by
8    66%.
9           62.   FIGS’s representations regarding the FIGS Products’ properties and
10   qualities have also been repeated by the website Nurse.org. Specifically, this
11   website touts FIGS’s scrubs saying “Did you know there are healthcare providers
12   worldwide that have never owned a pair of scrubs? That’s why Figs developed
13   their Threads for Threads Initiative - helping to outfit healthcare workers in need
14   and reduce hospital-acquired infection by 66%.” (https://nurse.org/articles/figs-
15   scrubs-men-and-women-review-discount-coupon/.)
16          63.   The article further states:
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24   Figure 3 – Nurse.org article.
25          64.   On information and belief, the Nurse.org operates as a referral website
26   that receives a commission for each referral and/or sale generated from articles on
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1    a given brand. On information and belief, FIGS paid Nurse.org for referrals
2    generated by Nurse.org.
3           65.     The above incidents represent only a fraction of the false and
4    misleading statements made or disseminated by FIGS related to the FIGS Products.
5    On information and belief, FIGS has engaged in similar behavior using additional
6    social media influencers and platforms.
7           66.     FIGS’s assertion that the FIGS Products reduce HAIs by 66% or that
8    the FIGS products kill bacteria and infection immediately on contact is false and
9    misleading. Testing of FIGS’s Products has demonstrated that the FIGS products
10   do not kill bacteria and infection immediately on contact.
11          67.     Furthermore, the statements made in the above article that FIGS’s
12   fabric is 100% antimicrobial and that the fabric is literally made of silver is false
13   and misleading. The falsity of FIGS’s statements have been shown through testing
14   that Plaintiff is aware of.
15          68.     On information and belief, FIGS, and specifically Spear and Hasson,
16   knew that FIGS did not have a basis to assert that the FIGS Products reduce HAIs
17   by 66%, kills bacteria and infection immediately on contact, and are literally made
18   of silver. Defendants simply just made it up to justify a higher price, be more
19   profitable, raise more money and do more advertising to capture market share from
20   competitors.
21          69.     FIGS has made statements, bought advertisements, and disseminated
22   information across a variety of platforms and media pushing variations of its claim
23   that the FIGS’s Products and/or its fabric treatments reduce HAIs either knowing
24   that such statements are false or misleading, or with a reckless disregard for
25   whether those statements are false or misleading.
26          70.     On information and belief, FIGS’s misrepresentations that “FIGS
27   antimicrobial fabric reduces hospital acquired infection rates by 66%” or “kills
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1    bacteria and infection immediately on contact” (which are health claims) are not
2    supported by competent and reliable scientific data.
3          71.    Hereinafter, the false and misleading statements set forth above, made
4    by FIGS including (1) that the FIGS Products reduce HAIs by 66%; (2) that the
5    FIGS Products kill bacteria and infection immediately on contact; (3) that the FIGS
6    Products have reduced HAIs by 66% in all of the areas where FIGS has donated
7    scrubs; (4) that the FIGS Products’ fabric is 100% antimicrobial and literally made
8    of silver; (5) that the FIGS Products contain an effective fluid barrier; and (6) FIGS
9    donated a like scrub for every scrub consumers purchased (amounting to tens of
10   thousands, if not hundreds of thousands of donations) will be collectively referred
11   to as “FIGS’s False and/or Misleading Claims.”
12                 Testing Done Showing FIGS’s Statements Are False
13         72.    As stated above, Plaintiff is aware of testing that shows FIGS’s False
14   or Misleading Claims are indeed false.         This testing was performed by an
15   independent consultant, Skip Palenik (“Palenik”), who works for Microtrace LLC
16   located in Elgin, Illinois. Palenik received a Bachelor of Science in Chemistry at
17   the University of Illinois at Chicago. Palenik founded Microtrace LLC in 1992.
18   He is affiliated with several relevant organizations, has taught courses on
19   chemistry and microscopy, has received many research grants, authored over a
20   dozen articles on relevant subject matter, and presented over 200 papers at
21   professional meetings and seminars.
22         73.    Microtrace purchased a set of FIGS scrubs from www.wearfigs.com
23   on April 9, 2019. Between April 18, 2019 and May 1, 2019, Palenik performed
24   tests on the FIGS scrubs’ top to determine if FIGS’s claims were true. The hang
25   tag said that the FIGS’s scrubs were antimicrobial and killed bacteria and infection
26   immediately on contact.
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1          74.    Palenik performed testing to evaluate if the FIGS scrubs killed
2    bacteria on contact as FIGS claimed. Initially, Palenik examined the FIGS scrubs’
3    top’s fabric using a field emission SEM-EDS (scanning electron microscopy and
4    energy dispersive x-ray spectroscopy).
5          75.    Using SEM-EDS, a bulk elemental analysis of the FIGS scrubs’ fabric
6    showed no detectable levels of silver. The fabric was then analyzed using a trace
7    element analysis technique, by means of x-ray fluorescence microspectroscopy
8    (µXRF) which also did not detect silver in the fabric. These screening methods
9    have detection limits on the orders of ~0.1 wt.-% and 0.00001 wt.-% (~10 ppm)
10   respectively. Finally, the fabric was examined at high magnifications in the SEM
11   and targeted elemental analysis of individual particles was conducted on the
12   surface of the fabric to screen for silver. Using this targeted approach, a few
13   particles of silver were detected on the FIGS scrubs’ fabric. Thus, not only was the
14   FIGS scrubs’ top not literally made of silver as FIGS claimed, but it hardly
15   contained any silver at all.
16         76.    Palenik then performed a test to determine how quickly the
17   antimicrobial killed bacteria (if it did at all). Palenik put three types of bacteria on
18   the FIGS scrubs’ top’s fibers. After placing the bacteria on the fibers, Palenik
19   mounted the fibers in a fluorescently tagged viability stain and examined the fibers
20   using a fluorescence microscope. The bacteria were examined in the viability stain
21   to determine if they were dying as a result of being in contact with the fibers from
22   the FIGS scrubs.
23         77.    Palenik discovered that 10 minutes after the bacteria contacted the
24   fibers all the bacteria were still alive. Palenik then tested whether the bacteria
25   remained alive after a longer period of time. After 255 minutes, only one of the
26   hundreds of bacteria cells placed on the fibers died. Indeed, when the testing was
27   extended to 24 hours after contact (performed by placing fibers directly into
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1    bacterial colonies growing in agar on a Petri dish), the size of the bacterial colonies
2    actually increased, indicating the bacteria continued to grow and multiply and were
3    unaffected by the FIGS scrubs’ fabric. Thus, Palenik’s testing showed that the
4    FIGS scrubs’ top did not kill bacteria upon contact as claimed by FIGS on the
5    product’s hang tag and other advertisements. Because the FIGS scrubs’ top did not
6    kill bacteria on contact (and did not even kill bacteria after a 24-hour period)
7    Palenik’s testing also showed that the FIGS scrubs’ top is not 100% antimicrobial
8    (or antimicrobial at all).
9          78.    Palenik also tested to see whether FIGS’s claim that its scrubs possess
10   an effective fluid barrier was true. He concluded it was not true. Palenik tested the
11   FIGS scrubs’ top via the AATCC Test Method 22-2014, Water Repellency: Spray
12   Test. The FIGS scrubs’ fabric consistently scored a 0 on this test, meaning that
13   any fluid barrier that the FIGS scrubs’ top’s fabric possessed had minimal to no
14   effect on water repellency. There were no properties of the FIGS scrubs’ top found
15   during Palenik’s analyses that would provide fluid barrier protection.
16         79.    Palenik’s testing, as described above, also leads to a conclusion that
17   FIGS’s claims regarding its scrubs purported ability to reduce HAIs by 66%,
18   including in all areas where FIGS has donated scrubs, are also false.            Since
19   Palenik’s testing showed that the FIGS scrubs’ top did not kill bacteria on contact
20   (or even after a 24-hour period of constant exposure) and that the FIGS scrubs’ top
21   did not provide fluid barrier protection, the FIGS scrubs’ top could not have the
22   ability to reduce HAIs by 66% (or likely by any percentage). Palenik is unaware
23   of any publicly available scientific study that FIGS could be relying on that could
24   support its claims that its scrubs reduce HAIs by 66%. Thus, based on his testing,
25   Palenik believes that FIGS’s claims that its scrubs reduce HAIs by 66% is false.
26         80.    In sum, Palenik’s examination of the FIGS scrubs’ top showed that all
27   of FIGS’s False or Misleading Claims (as defined in paragraph 61) are false.
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1                         FIGS Has Caused Injury to Consumers
2          81.    Healthcare workers and others in the medical health profession who
3    are actual and potential consumers of scrubs and healthcare apparel are and have
4    been misled by FIGS’s False or Misleading Claims.
5          82.    On information and belief, consumers in the healthcare industry,
6    namely purchasers of scrubs and healthcare apparel, including but not limited to
7    those individuals that may come in contact with bodily fluids during their workday,
8    make purchasing decisions based on statements made by companies and the media
9    regarding the properties and qualities of the products, including whether such
10   properties and qualities may make them and their patients safer.
11         83.    On information and belief, consumers have been substantially injured
12   by FIGS’s False or Misleading Claims: (a) in the form of paying a premium for the
13   FIGS Products and (b) by exposing and endangering said consumers to a false
14   sense of protection from HAIs, thus jeopardizing the health and safety of these
15   consumers and their patients.
16         84.    FIGS omitted material facts when it failed to include key facts
17   regarding the scope and truthfulness of its claims regarding the properties and
18   qualities of the FIGS Products.
19         85.    FIGS omitted key facts from its website, advertising, and promotions.
20   FIGS had exclusive knowledge of material facts not known or reasonably
21   accessible to consumers or to the Plaintiff regarding the properties and qualities of
22   the FIGS Products.
23         86.    If consumers had known of these non-disclosed facts (as well as the
24   falsity of multiple statements and claims made by FIGS), they would have behaved
25   differently and likely not have bought the FIGS Products (especially at a higher
26   price) when the FIGS products do not provide the benefits, generosity, properties,
27   and qualities claimed.    Furthermore, the consumers likely would have acted
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1    differently in regard to taking standard safety precautions. Additionally, if these
2    non-disclosed facts were known, FIGS would not have received the press coverage
3    and media attention that it did.
4           87.   On information and belief, the reasonable consumer buying scrubs
5    would find FIGS’s False or Misleading Claims to be material, including FIGS’s
6    misrepresentations that the FIGS Products are able to reduce HAIs by 66% or able
7    to kill bacteria and infection immediately on contact.
8           88.   The injuries to consumers discussed above are the types of injury that
9    consumers could not have reasonably avoided since they were unaware that the
10   statements FIGS made were false and misleading.
11          89.   FIGS’s strategy of pressing the “antimicrobial” aspects of its scrubs is
12   based on fear and seeks to exploit its consumers. Thousands of people have died
13   over the years from SARS in 2002-03, to the N1H1 pandemic in 2009, to the threat
14   of Ebola in Africa from 2013 to the present, or to the current global pandemic of
15   the COVID-19 coronavirus, FIGS’s marketing strategy is based on fear. But rather
16   than actually help purchasers of its scrubs with honesty, FIGS has overpromised
17   and underdelivered, giving the consumer less than what was promised and
18   potentially putting its customers in danger as a result.
19          90.   Furthermore, without injunctive relief from this Court, consumers will
20   continue to suffer the injuries, including a threat to their health and safety (as well
21   as the health and safety of their patients). Healthcare workers need to be able to
22   rely on the representations of companies providing products that claim to protect
23   their health—especially in this time of the COVID-19 coronavirus pandemic.
24   When a company states that a piece of clothing is antimicrobial and kills bacteria
25   upon contact, healthcare workers need to be able to rely upon that statement.
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1                           FIGS Has Caused Injury to Plaintiff
2             91.   By engaging in the wrongful conduct alleged herein, including the
3    dissemination of FIGS’s False or Misleading Claims, FIGS has diverted consumers
4    away from competitors like Plaintiff to FIGS. Specifically, Plaintiff has lost sales
5    and a share of the market to FIGS because of FIGS’s False or Misleading Claim.
6    Thus, Plaintiff has suffered an injury in fact in the form of lost sales and profits due
7    to FIGS’s improper actions.
8             92.   Additionally, FIGS’s False or Misleading Claims has tainted the
9    reputation and marketability of its competitors’ products, including Plaintiff’s, as
10   consumers have been led to believe that the FIGS Products contain superior
11   qualities and properties to that of its competitors. Any belief by the consuming
12   public that SPI’s products are inferior to the FIGS’s Products is untrue. Thus,
13   FIGS’s False or Misleading Claims are causing immediate and irreparable injury to
14   Plaintiff, including injury to Plaintiff’s business, reputation, and goodwill.
15            93.   FIGS is taking sales away from scrubs companies that are following
16   the rules and not making false and misleading statements about their scrubs—
17   including statements that are contrary to EPA guidelines. The perceived value in
18   scrubs that will protect the wearer is even more apparent in light of the current
19   COVID-19 coronavirus pandemic. In addition to the very real danger to the
20   professional who buys scrubs believing scrubs will protect them rather than
21   eliminate odors and reduce fabric degradation—as represented by FIGS—is the
22   unfair diversion of sales away from competitors who are responsibly following the
23   rules.
24            94.   Plaintiff has lost revenue, and will continue losing revenue, as
25   consumers purchase the FIGS’s Products instead of SPI’s products due to FIGS’s
26   False or Misleading Claims and the financial, media, and reputational benefits
27   derived from FIGS from such claims.
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1          95.    Furthermore, FIGS’s wrongful conduct has also allowed it to raise
2    tens of millions of dollars in funding which has enabled it to disseminate its false
3    and their general advertising more profusely.
4          96.    Furthermore, on information and belief, FIGS wrongfully has used,
5    and is using SPI’s confidential information and data taken without permission from
6    Blackstone by Spear.      Thus, FIGS has improperly used SPI’s resources and
7    knowledge to compete against SPI.
8          97.    Without injunctive relief from this Court, Plaintiff will continue to
9    suffer injury in the form of lost sales, lost market share, loss of goodwill, and harm
10   to its reputation all because of Defendants’ actions.
11                              FIRST CAUSE OF ACTION
12                 False Advertising in Violation of 15 U.S.C. § 1125(a)
13                                 (As to Defendant FIGS)
14         98.    Plaintiff re-alleges and incorporates by reference each of the
15   numerical paragraphs both above and below as if fully set forth herein.
16         99.    The acts of FIGS as set forth above and below, including the
17   advertising and dissemination of FIGS’s False or Misleading Claims, constitute
18   false advertising in violation of the 15 U.S.C. § 1125(a). As a result of FIGS’s
19   actions, Plaintiff has suffered, and will continue to suffer, damages in an amount to
20   be determined at trial. Further, FIGS has caused, and will continue to cause,
21   immediate and irreparable injury to Plaintiff, including injury to Plaintiff’s
22   business, reputation and goodwill, for which there is no adequate remedy at law.
23   Plaintiff is therefore entitled to an injunction under 15 U.S.C. § 1116 restraining
24   FIGS from engaging in future acts of false advertising and ordering removal of all
25   of FIGS’s false advertisements.
26         100. The acts of FIGS as set forth above and below constitute false or
27   misleading representations of fact in commercial advertising or promotion, in
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1    interstate commerce in connection with goods or services, where FIGS’s
2    representations misrepresent the nature and/or qualities of FIGS’s goods, and
3    Plaintiff has been damaged and is likely to be damaged in the future by FIGS’s
4    acts.
5            101. The acts of FIGS as set forth above and below, particularly FIGS’s
6    false and misleading misrepresentations, caused commercial injury to Plaintiff,
7    such injury harming Plaintiff’s ability to compete with the FIGS.
8            102. The acts of FIGS as set forth above and below, particularly FIGS’s
9    false and misleading misrepresentations in its commercial advertising and
10   promotion of its FIGS Products, are the proximate cause of Plaintiff’s injury.
11   FIGS’s acts deceived consumers which caused those consumers to withhold trade
12   from Plaintiff.
13           103. Pursuant to 15 U.S.C. § 1117, Plaintiff is further entitled to recover
14   from FIGS the damages sustained by Plaintiff because of FIGS’s acts in violation
15   of 15 U.S.C. 1125(a). As a result of the acts complained herein, Plaintiff has
16   suffered damages in excess of this Court’s minimum jurisdiction, the precise
17   amount of which will be proven at trial.
18           104. Pursuant to 15 U.S.C. § 1117, Plaintiff is further entitled to recover
19   from FIGS the gains, profits, market value, and advantages that FIGS has obtained
20   because of its acts in violation of 15 U.S.C. § 1125(a), the precise amount of which
21   will be proven at trial.
22           105. By engaging in the conduct set forth above, including, but not limited
23   to, false advertising, FIGS has unjustly enriched itself at the expense of Plaintiff by
24   diverting sales, revenue and profits from Plaintiff to itself through its false and/or
25   misleading advertising practices that misrepresented its business and the quality of
26   its products. FIGS would not have obtained these sales, revenue, and profits from
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1    Plaintiff’s customers, distributors, and retailers but for its false and/or misleading
2    advertising.
3          106. As a result of FIGS’s unlawful, fraudulent, and unfair conduct,
4    Plaintiff has lost sales, revenue, and profits to FIGS.
5          107. Plaintiff seeks restitution and disgorgement of FIGS’s ill-gotten
6    profits and monies it has unjustly obtained at Plaintiff’s expense.
7          108. Pursuant to 15 U.S.C. § 1117, Plaintiff is further entitled to recover
8    the costs of this actions. Moreover, FIGS’s conduct was undertaken willfully and
9    with the intention of causing confusion, mistake, or deception, making this an
10   exceptional case entitling Plaintiff to recover additional damages, up to three times
11   the amount of actual damages, and reasonable attorneys’ fees.
12                            SECOND CAUSE OF ACTION
13                                Unfair Business Practices
14                    in Violation of CAL. BUS. & PROF. CODE § 17200
15                                 (As to Defendant FIGS)
16         109. Plaintiff re-alleges and incorporates by reference each of the
17   numerical paragraphs both above and below as if fully set forth herein.
18         110. The acts of Defendants as set forth above and below constitute unfair,
19   unlawful, and/or fraudulent business practices in violation of California Business
20   and Professions Code § 17200.
21         111. Defendants’ actions described herein constitute unfair business
22   practices as Defendants have made false and misleading misrepresentations about
23   FIGS Products. Defendants’ actions described herein have injured Plaintiff and
24   others in the marketplace because they have competed using false advertising, thus
25   acquiring customers through unfair means.
26         112. For example, products treated with an antimicrobial agent that make
27   public health claims must be registered with the Environmental Protection Agency
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1    (“EPA”) to make those claims. See EPA guidelines from Pesticide Notice (PR)
2    2000-1, Applicability of the Treated Articles Exemption to Antimicrobial
3    Pesticides; see also 40 C.F.R. 152, et seq.
4          113. The EPA provides an exemption from registration for products that
5    contain an antimicrobial agent where the agent is solely included to protect the
6    product from bacteria that cause odor or degrade the product.
7          114. However, FIGS claimed that its antimicrobial agent does more than
8    protect the product from bacteria that cause odor or fabric degradation. As such,
9    FIGS was required to specifically register its products with the EPA to make
10   claims beyond the scope of the Treated Article Exemption. Plaintiff is informed
11   and believes, and, on that basis, alleges that FIGS has not registered its products
12   with the EPA for any additional antimicrobial health claims.
13         115. FIGS’s actions described herein constitute unlawful business
14   practices, for at least the following violations listed below:
15             FIGS competed unlawfully for purposes of this cause of action on the
16               basis that FIGS has violated 15 U.S.C. § 1125, which prohibits false
17               advertising;
18             The Federal Trade Commission (“FTC”) requires all health claims be
19               supported by “competent and reliable scientific data.” (15 U.S.C. § 45,
20               et seq.) Further, the FTC requires Defendants to be responsible for
21               both express and implied health claims. Because FIGS’s health claims
22               are not supported by “competent and reliable scientific data” FIGS has
23               competed unlawfully for purposes of this cause of action by violating
24               15 U.S.C. § 45;
25             FIGS was required to register its products with the California
26               Department of Pesticide Regulation (“DPR”) because of its health
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                                           30
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1                claims. Plaintiff is informed and believes, and, on that basis, alleges
2                that FIGS has not registered its products with the state of California;
3              FIGS has competed unlawfully for purposes of this cause of action on
4                the basis that FIGS has violated 7 U.S.C. §§ 136, et seq., which
5                requires registration of pesticides;
6              FIGS has competed unlawfully for purposes of this cause of action on
7                the basis that FIGS has violated 15 U.S.C. § 52, which prohibits the
8                dissemination of false advertisements;
9              FIGS has competed unlawfully for purposes of this cause of action on
10               the basis that FIGS has violated 16 C.F.R. §§ 255.0, et seq., which
11               governs consumer, expert, and organizational endorsements and
12               requirements related to disclosures of material connections;
13             Plaintiff is informed and believes, and, on that basis, alleges that FIGS
14               failed to register its products with the EPA and has violated 40 C.F.R.
15               § 152, et seq.;
16             FIGS competed unlawfully for purposes of this cause of action on the
17               basis that FIGS has violated Cal. Code of Regulations § 6147, et seq.,
18               which requires registration of pesticide products; and Plaintiff is
19               informed and believes, and, on that basis, alleges that FIGS competed
20               unlawfully with SPI by taking and using SPI’s confidential
21               information.
22         116. FIGS’s actions described herein also constitute fraudulent business
23   practices. Specifically, FIGS made false and misleading statements about the
24   properties and abilities of FIGS Products which FIGS knew were untrue, without
25   factual basis, and misleading to the public at large, including its customers,
26   investors, and business partners.
27   ///
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                                           31
                                FIFTH AMENDED COMPLAINT
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1          117. FIGS deceived members of the public promoting false and misleading
2    claims that FIGS Products reduced HAIs by 66% and that they kill bacteria on
3    contact. FIGS’s false and misleading statements were made on its website, and
4    featured in advertising and promotion materials, and were disseminated directly
5    and indirectly through social media influencers that touted these false claims that
6    were debunked and proven untrue when scientifically tested.
7          118. FIGS’s actions constituted a fraudulent business practices that directly
8    resulted in injury to Plaintiff, consumers, and others. Consumers relied on FIGS’s
9    misrepresentations regarding the properties of FIGS Products when purchasing
10   those goods which resulted in harm to them as they were duped into expending
11   their monies to purchase a product under false pretenses.        FIGS’s fraudulent
12   busines practices also harmed Plaintiff who lost sales, revenue, and profits from
13   consumers, retailers, and distributors that had previously purchased, acquired, and
14   promoted Plaintiff’s goods that, instead, purchased, acquired, and promoted FIGS
15   Product in reliance on FIGS’s false and misleading statements.
16         119. FIGS’s actions resulted in substantial injury to both the Plaintiff and
17   consumers, wherein that injury is not outweighed by any countervailing benefits to
18   consumers or to competition, and, is not an injury that consumers themselves could
19   have reasonably avoided.
20         120. As a result of FIGS’s actions, consumers will continue to be deceived
21   and purchase FIGS Products despite the fact that they do not possess the very
22   qualities and properties for which consumers are making the decision to purchase
23   FIGS Products as opposed to the products of FIGS’s competitors, including
24   Plaintiff. FIGS’s misrepresentations are particularly egregious as they also stand to
25   endanger the health and safety of consumers who are predominantly front-line
26   healthcare professionals and essential workers who rely on FIGS’s fraudulent
27   health and safety-related claims to take appropriate precautions and protect
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                                           32
                                FIFTH AMENDED COMPLAINT
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1    themselves from the risks posed by their profession and treat the patients entrusted
2    to their care.
3           121. As a result of FIGS’s actions, Plaintiff has suffered and will continue
4    to suffer injury to its business, reputation, and goodwill. Plaintiff has suffered an
5    injury in fact as a direct result of the unfair competition of FIGS, including lost
6    sales, revenues, profits, and additional expenses incurred by Plaintiff to compete
7    against FIGS’s false and misleading statements.
8           122. FIGS has derived and received, and will continue to derive and
9    receive, gains, profits, and advantages from its unfair, unlawful, and/or fraudulent
10   business practices in an amount that will be proven at trial.
11          123. Absent injunctive relief from this Court, FIGS will also continue to
12   deceive and unlawfully profit from consumers, and Plaintiff will continue to suffer
13   injury in the form of lost sales, revenues, profits, market share, and goodwill,
14   because of FIGS’s actions.
15          124. Absent injunctive relief, the public at large will continue to be
16   deceived into purchasing FIGS’s Products, which poses significant harm to the
17   public’s health interests given the health and safety nature of FIGS’s
18   misrepresentations and high-risk professions in which its consumers practice.
19          125. Plaintiff seeks and is entitled to injunctive relief prohibiting FIGS’
20   unfair, unlawful, and fraudulent business practices.
21          126. Plaintiff also seeks and is entitled to restitution in an amount to be
22   proven at trial.
23   ///
24   ///
25   ///
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                               FIFTH AMENDED COMPLAINT
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1                              THIRD CAUSE OF ACTION
2                                Unfair Business Practices
3                      in Violation of CAL. BUS. & PROF. CODE § 17200
4                                  (As to All Defendants)
5          127. Plaintiff re-alleges and incorporates by reference each of the
6    numerical paragraphs both above and below as if fully set forth herein.
7          128. The acts of Defendants as set forth above and below constitute unfair,
8    unlawful, and/or fraudulent business practices in violation of California Business
9    and Professions Code § 17200.
10         129. The actions of Spear in converting and using the Blackstone
11   Information to form FIGS and compete against Plaintiff, was immoral, unethical,
12   and/or unscrupulous and as such, constitutes a violation of Section 17200’s
13   “unfair” prong.
14         130. Defendants have competed unfairly in the medical apparel industry by
15   unlawfully obtaining and using the Blackstone Information in violation California
16   Penal Code § 502 and California's public policy protecting the interception of
17   private data. See Cal. Penal Code §§ 502; Cal. Const. art. 1, § 1 (“All people are
18   by nature free and independent and have inalienable rights. Among these are
19   enjoying and defending life and liberty, acquiring, possession, and protecting
20   property, and pursuing and obtaining safety, happiness, and privacy.”).
21         131. Defendants’ actions as pleaded herein (including Spear’s taking of the
22   Blackstone Information, and Defendants’ use of the Blackstone Information)
23   constituted unlawful business practices in violation of California Penal Code §
24   502which prohibits unauthorized access and use of computer systems and/or data.
25         132. Plaintiff is informed and believes, and, on that basis, alleges that
26   Spear knowingly accessed Blackstone’s computer, computer system, or computer
27   network, and without permission, took, copied, and, together with Hasson, made
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                                          34
                               FIFTH AMENDED COMPLAINT
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1    use of the Blackstone Information to form FIGS and unfairly compete against
2    Plaintiff.
3           133. Absent injunctive relief from this Court, Defendants will continue to
4    derive and receive, gains, profits, and advantages from consumers, and Plaintiff
5    will continue to suffer injury in the form of lost sales, revenues, profits, and
6    additional expenses incurred by Plaintiff to compete against FIGS’s false and
7    misleading statements.
8           134. Plaintiff seeks and is entitled to injunctive relief prohibiting
9    Defendants’ use of the Blackstone Information to further compete against it.
10          135. Plaintiff also seeks and is entitled to restitution in an amount to be
11   proven at trial.
12                             FOURTH CAUSE OF ACTION
13                            Untrue and Misleading Advertising
14                      In Violation of CAL. BUS. & PROF. CODE §17500
15                                 (As to Defendant FIGS)
16          136. Plaintiff re-alleges and incorporates by reference each of the
17   numerical paragraphs both above and below as if fully set forth herein.
18          137. The acts of FIGS as set forth above and below constitute untrue and
19   misleading advertising in violation of California Business and Professions Code §
20   17500. As a result of FIGS’s actions, Plaintiff has suffered and will continue to
21   suffer injury to its business, reputation, and goodwill.
22          138. FIGS knew or reasonably should have known that its False or
23   Misleading Claims about its products would be disseminated by blogs and social
24   media influencers.
25          139. FIGS’s misrepresentations, including the False or Misleading Claims,
26   constitute statements in advertising that are false and misleading, and FIGS knew,
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                                FIFTH AMENDED COMPLAINT
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1    or by the exercise of reasonable care should have known, that the statements were
2    false and misleading.
3           140. FIGS’s False or Misleading Claims about the qualities and properties
4    of FIGS Products, including but not limited to, misrepresentation that FIGS
5    Products reduce hospital acquired infections, are likely to deceive and induce a
6    reasonable consumer to purchase medical scrubs.
7           141. At the time FIGS made misrepresentations about the qualities and
8    properties of its FIGS Products, FIGS knew, or by the exercise of reasonable care,
9    should have known that the statements were false and/or misleading.
10          142. FIGS has derived and received, and will continue to derive and
11   receive, gains, profits, and advantages from its false and/or misleading advertising
12   in an amount to be proven at trial.
13          143. FIGS will also continue to deceive and unlawfully profit from
14   consumers, and Plaintiff will continue to suffer injury in the form of lost sales,
15   revenues, profits, market share, and goodwill, because of FIGS’s actions.
16          144. Absent injunctive relief, the public at large will continue to be
17   deceived into purchasing FIGS’s Products, which poses significant harm to the
18   public’s health interests given the health and safety nature of FIGS’s
19   misrepresentations and high-risk professions in which its consumers practice.
20          145. Plaintiff seeks and is entitled to injunctive relief prohibiting FIGS’
21   unfair, unlawful, and fraudulent business practices.
22          146. Plaintiff also seeks and is entitled to restitution in an amount to be
23   proven at trial.
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                               FIFTH AMENDED COMPLAINT
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1                              FIFTH CAUSE OF ACTION
2              Intentional Interference with Prospective Economic Relations
3                                  (As to All Defendants)
4            147. Plaintiff re-alleges and incorporates by reference each of the
5    numerical paragraphs both above and below as if fully set forth herein.
6            148. Plaintiff had (and has) an economic relationship with its end
7    consumers to whom it sells its medical apparel directly (e.g., medical professionals
8    and other consumers who purchase its medical apparel) through its own websites,
9    retailer/distributors, and wholesale (collectively, the “Consumers”). Plaintiff is
10   informed and believes, and, on that basis, alleges Consumers such as Avegail
11   Torres and Paul Toledo previously purchased medical apparel from Plaintiff but
12   switched to FIGS due to Defendants’ wrongful actions and misrepresentations.
13   Additionally, attached hereto as Exhibit A and incorporated herein by reference is
14   a representative and non-exhaustive list of additional Consumers who previously
15   purchased medical apparel from Plaintiff but switched to FIGS due to
16   Defendants’ wrongful actions and misrepresentations.
17           149. Plaintiff further had (and has) an economic relationship with
18   retailers/distributors who acquire, carry, and promote its products for consumption
19   by the end consumers, including online retailers and distributors such as Amazon
20   and Allheart.com, and brick and mortar stores, such as ProWearPlus Uniforms,
21   Uniforms for America, and many others (collectively, “Retailers/Distributors”).
22           150. Plaintiff is informed and believes, and, on that basis, alleges that
23   Defendants knew that Plaintiff had relationships with these Consumers and
24   Retailors/Distributors based on, among other things, their improper use and access
25   of the Blackstone Information and use of the False and Misleading Statements sued
26   upon.     In fact, Defendants surveyed these Consumers who confirmed they
27   previously purchased Plaintiff’s medical scrubs and who Defendants sought, and
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                               FIFTH AMENDED COMPLAINT
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1    ultimately induced, to switch over to FIGS Products through their false and
2    misleading statements and improper use of the Blackstone Information.
3          151. Defendants knowingly and intentionally disrupted the economic
4    relations between Plaintiff and its Consumers and Retailers/Distributors by making
5    false and misleading statements regarding FIGS’s business and FIGS Products, and
6    by converting and using Plaintiff’s confidential Blackstone Information.            In
7    particular, Defendants’ false and misleading statements misled Consumers
8    regarding its business and the quality and properties of FIGS’s Products, and
9    created a false differentiation between FIGS Products and Plaintiff’s products,
10   which, in turn, diverted consumption of Plaintiff’s products under false pretenses.
11         152.    Defendants’ wrongful actions and misrepresentations have also
12   caused medical professionals to purchase less of Plaintiff’s products thereby
13   disrupting Plaintiff’s economic relationships with these Retailers/Distributors who
14   have acquired and sold less of Plaintiff’s products.
15         153. Plaintiff is informed and believes, and, on that basis, alleges that
16   Defendants’ disruption of Plaintiff’s economic relationships arising from their
17   wrongful conduct and misrepresentations have caused Plaintiff to lose at least 3.66
18   million units sold from 2013 to June 2020, which constitute over $35 million in
19   revenues lost by Plaintiff during this time. Specifically, Exhibit A reflects a
20   representative and non-exhaustive list of Consumers who previously purchased
21   Plaintiff’s products and have now switched over to FIGS Products.
22         154. Furthermore, Plaintiff is informed and believes, and, on that basis,
23   alleges that, Defendants’ wrongful conduct and misrepresentations have also
24   interfered with and disrupted Plaintiff’s relationships with its Retailers/Distributors
25   (including, but not limited to, Amazon, Allheart.com, ProWearPlus Uniforms, and
26   Uniforms for America). For example, FIGS’s false and misleading statements and
27   conversion and use of Plaintiff’s confidential information has led to the
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                               FIFTH AMENDED COMPLAINT
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1    interference with, disruption and loss of 253,666 units sold (or over $4.76 million
2    in revenue) by Allheart, alone, which includes the loss in sales of not less than
3    108,043 units (or $2.02 million in revenue) of Plaintiff’s products.
4           155. As discussed above, Defendants acted with malice, oppression and/or
5    fraud warranting the imposition of punitive damages. Defendants used stolen,
6    confidential information to form FIGS, and, thereafter, launched a fraudulent
7    marketing campaign disseminating false and misleading claims about FIGS
8    Products that misled and induced consumers and distributors/retailers to purchase,
9    acquire, and promote its products. Defendants’ actions were particularly egregious
10   as they made false and misleading claims about the quality of its products on
11   which its consumers, healthcare professionals, relied upon for their health and
12   safety and to take precautions in providing vital services to patients entrusted in
13   their care.
14          156. By engaging in the conduct set forth above, including, but not limited
15   to, false advertising, FIGS has unjustly enriched itself at the expense of Plaintiff by
16   diverting sales, revenue and profits from Plaintiff to itself through its false and/or
17   misleading advertising practices that misrepresented its business and the quality of
18   its products. FIGS would not have obtained these sales, revenue, and profits from
19   Plaintiff’s customers, distributors, and retailers but for its false and/or misleading
20   advertising.
21          157. As a result of FIGS’s unlawful, fraudulent, and unfair conduct,
22   Plaintiff has lost sales, revenue, and profits to FIGS.
23          158. Plaintiff seeks restitution and disgorgement of FIGS’s ill-gotten
24   profits and monies it has unjustly obtained at Plaintiff’s expense.
25   ///
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                                FIFTH AMENDED COMPLAINT
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1                              SIXTH CAUSE OF ACTION
2                                      CONVERSION
3                                 (As to Defendant Spear)
4          159. Plaintiff re-alleges and incorporates by reference each of the
5    numerical paragraphs both above and below as if fully set forth herein.
6          160. Blackstone was an investor of SPI, a lender to SPI, a prospective
7    purchaser of SPI, and sat on Plaintiff’s board of directors. In these capacities,
8    Blackstone obtained Plaintiff’s confidential information, including the Confidential
9    Report, SPI’s fiscal plans, data, and strategies, spanning several years, up to, at
10   least 2012.
11         161. Specifically, while Blackstone sat on the Plaintiff’s Board of
12   Directors, Plaintiff provided Blackstone with the following “Confidential
13   Information,” including, but not limited to:
14                    1) Plaintiff’s financial information, including its sales, revenue,
15                       costs, and inventory, and monthly financial reports;
16                    2) Plaintiff’s business plans and marketing strategies, including its
17                       proprietary Strengths, Weaknesses, Opportunities, and Threats
18                       (SWOT) Analysis;
19                    3) Information regarding Plaintiff’s suppliers;
20                    4) competitive analysis, market data, and other research studies
21                       that Plaintiff commissioned and accumulated through its own
22                       resources and expenses;
23                    5) Information regarding Plaintiff’s customers, including analysis
24                       of consumer preferences;
25                    6) Plaintiff’s market distribution data, including percentage of
26                       business sold to various market channels including online and
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                                          40
                               FIFTH AMENDED COMPLAINT
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1                           retail channels, analyses as to why certain sales channels are
2                           growing, and how to grow lagging channels;
3                     7) Domestic and international supply chain strategy;
4                     8) Trend analysis assessing and evaluating growing and declining
5                           trends in products; and
6                     9) Fabric compositions data.
7          162. Plaintiff spent significant costs and resources to research, assemble,
8    and aggregate the Confidential Information, which comprise of information
9    spanning over nearly two decades from 1995.
10         163.    Given the valuable, confidential, and proprietary nature of the
11   information contained therein, Plaintiff took reasonable steps to protect the
12   Confidential Information, and restricted their access to individuals under strict non-
13   disclosure and/or confidentiality agreements.
14         164. Plaintiff is informed and believes, and, on that basis, alleges that
15   Blackstone executed a confidentiality and/or nondisclosure agreement pursuant to
16   which Blackstone agreed to protect and keep confidential any data and proprietary
17   information shared by Plaintiff. Under the protections of the agreement, Plaintiff
18   entrusted Blackstone with its Confidential Information.
19         165. Plaintiff is informed and believes, and, on that basis, alleges that
20   Spear worked on a potential investment by Blackstone involving Plaintiff while
21   she was employed at Blackstone. Plaintiff is informed and believes, and, on that
22   basis, alleges that Spear obtained the above-described Confidential Information
23   while she was employed at Blackstone and while she was working on a project
24   involving Plaintiff.
25         166. Spear, herself, admitted that she improperly accessed Plaintiff’s
26   Confidential Information, publicly-stating in an interview: “I’m in New York, was
27   working at Blackstone.        I did a private equity deal in the medical apparel
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                                            41
                                 FIFTH AMENDED COMPLAINT
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1    space[and]…we [Blackstone] were looking to acquire the largest company in the
2    [scrubs] industry. So I had sent Heather the like 300 page report that I had
3    worked on and she was like ‘what is this?’ ‘How do you have this?’”
4             167. Spear has admitted multiple times that she took confidential
5    information from Blackstone, shared that information with Hasson, and that she
6    and Hasson used that information to start and operate FIGS. Plaintiff is informed
7    and believes, and, on that basis, alleges that the confidential business information
8    Spear took from Blackstone was the Confidential Information, which is property of
9    SPI’s.
10            168. Specifically, in the Miami Hustle Series podcast, entitled “042: The
11   FIGS story – Trina Spear and making healthcare more comfortable for everyone,”
12   Spear stated regarding the origins of FIGS while she was at Blackstone:
13
                    She [Heather] had just had the idea for it. And I said
14
                    Scrubs, that's interesting because we [Blackstone] were
15                  looking to acquire the largest company in the industry.
                    So I had sent Heather the like 300 page report that I
16
                    had worked on and she was like “what is this?” “how
17                  do you have this?” So it was very fascinating I think for
                    her to see – you know – a lot of information about the
18
                    market and the players that are in the market, not from a
19                  primary perspective which is mainly what she was
                    working with.
20
21            169. Further, Spear stated in an interview with Refresh Miami on April 8,
22   2018 that she sent “super confidential” Blackstone materials to Hasson in violation
23   of Blackstone’s Code of Ethics. Specifically, Spear stated in a YouTube video of
24   that interview as follows:
25                  “I’m in New York, was working at Blackstone. I did a
26                  private equity deal in the medical apparel space.
                    Random. Sent her [Hasson] all the materials I’d
27                  worked on. That can’t leave this room. They are super
28                  confidential. I will end up somewhere, so, everyone do
                                             42
                                  FIFTH AMENDED COMPLAINT
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1                     not Tweet about that . . . So, we talked on a Monday.
                      Fly out to LA on a Friday. We start working together.
2
                      Spent about 6 months. Wait until I get my bonus at
3                     Blackstone. Liquidate my 401(k). Move to LA. Put all
                      my money into the business.”
4
5    (Emphasis added.)

6           170. Plaintiff owns the exclusive rights to possess its sensitive Confidential

7    Report, including its Confidential Information.

8           171. Plaintiff is informed and believes, and, on that basis, alleges that

9    Spear took Confidential Information which she, then, converted for her own

10   personal use and use by Defendants.         In particular, Spear obtained and sent

11   Plaintiff’s Confidential Information to Heather Hasson, and together they used

12   Plaintiff’s Confidential Information to form FIGS and compete against Plaintiff.

13   Spear’s improper access and use of Plaintiff’s Confidential Information provided

14   FIGS with an unfair advantage as they unlawfully accessed and used for its own

15   benefit and profit confidential and valuable information accumulated by Plaintiff

16   through its own resources and its own expense.

17          172. As a result, Plaintiff has suffered damages by reason of the above in

18   an amount in excess of the minimum jurisdiction of this Court, to be proven at the

19   time of trial.

20          173. Spear acted with malice, oppression and/or fraud warranting the

21   imposition of punitive damages. As discussed above, Spear knew that her actions

22   were unlawful and the information she converted was confidential and not to be

23   used for her and Defendants’ benefit. In fact, Spear knowing and intentionally

24   breached her ethical obligation set forth under Blackstone’s Code of Ethics by

25   stealing and converting the Confidential Information.

26          174. By engaging in the conduct set forth above, including, but not limited

27   to converting the Confidential Information, Spear has unjustly enriched herself by

28   using this information to create and operate FIGS, thus lowering operation and
                                            43
                                 FIFTH AMENDED COMPLAINT
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1    start-up costs which allowed her to secure larger profits as the owner and co-
2    founder of FIGS. Spear would not have gained these economic advantages but for
3    her misconduct.
4          175. As a result of Spear’s unlawful conversion, Plaintiff has lost sales,
5    revenue, and profits to FIGS.
6          176. Plaintiff seeks restitution and disgorgement of Spear’s ill-gotten
7    profits and monies she has unjustly obtained at Plaintiff’s expense.
8                             SEVENTH CAUSE OF ACTION
9                                 Breach of Fiduciary Duty
10                                 (As to Defendant Spear)
11         177. Plaintiff re-alleges and incorporates by reference each of the
12   numerical paragraphs both above and below as if fully set forth herein.
13         178. Blackstone served as Plaintiff’s investor, lender, and a member of
14   Plaintiff’s Board of Directors. As a board member, Blackstone attended board
15   meetings and received Confidential Information (as defined above) which spanned
16   several years up to at least 2012. Accordingly, Blackstone owed a fiduciary duty
17   Plaintiff and its stockholders.
18         179. Plaintiff spent significant costs and resources to research, assemble,
19   and aggregate the Confidential Information, which comprise of information
20   spanning over nearly two decades from 1995.
21         180.    Given the valuable, confidential, and proprietary nature of the
22   information contained therein, Plaintiff took reasonable steps to protect the
23   Confidential Information, and restricted their access to individuals under strict non-
24   disclosure and/or confidentiality agreements. Plaintiff is informed and believes,
25   and, on that basis, alleges that Blackstone executed a confidentiality and/or
26   nondisclosure agreement with respect to the Confidential Information.
27   ///
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                                FIFTH AMENDED COMPLAINT
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1          181. Blackstone is a corporate entity that can only act and operate through
2    its employees and agents, including Spear.           As an employee, agent, and
3    representative of Blackstone, Spear owed Plaintiff a fiduciary duty to maintain the
4    confidentiality of the Confidential Information and prevent its use for an improper
5    purpose. As the agent for Blackstone, Spear’s duties at Blackstone and the actions
6    required of Spear in that role give rise to the same duties owed by Blackstone as
7    the principal, and vice versa.
8          182. Spear’s breach of her fiduciary duty was knowing and willful.
9    Indeed, Spear has substantial business and investment banking experience, having
10   graduated from Harvard Business School and worked for Citi Bank as a Private
11   Equity Associate and an Investment Banking Analyst, and knew her role as a
12   fiduciary as an employee, agent, and representative of an entity that sat on
13   Plaintiff’s Board of Directors.
14         183. Plaintiff is informed and believes, and, on that basis, alleges that
15   Spear knew and understood her fiduciary duties and obligations in connection with
16   her receipt of the Confidential Information.
17         184. Plaintiff is informed and believes, and, on that basis, alleges that
18   Spear worked on a deal involving Plaintiff while she was employed at Blackstone.
19   Spear has stated on multiple occasions that she was working on the “deal” related
20   to scrubs. Spear stated in an interview: “I’m in New York, was working at
21   Blackstone. I did a private equity deal in the medical apparel space.” Spear
22   further stated in a podcast that: “we [Blackstone] were looking to acquire the
23   largest company in the [scrubs] industry. So I had sent Heather the like 300 page
24   report that I had worked on and she was like ‘what is this?’ ‘How do you have
25   this?’” Plaintiff is informed and believes, and, on that basis, alleges that Spear was
26   acting in a fiduciary capacity on behalf of Blackstone for Plaintiff when she was
27   working on the private equity involving Plaintiff.
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                               FIFTH AMENDED COMPLAINT
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1          185. Plaintiff is informed and believes, and, on that basis, alleges that
2    Spear breached her fiduciary duties, including her duty of loyalty and
3    confidentiality to Plaintiff, by converting and using Plaintiff’s Confidential
4    Information for her own gain and the benefit of Defendants. In particular, Plaintiff
5    is informed and believes, and, on that basis, alleges that Spear took the
6    Confidential Information from Blackstone, shared that information with Hasson,
7    and that she and Hasson used that information to form FIGS and compete against
8    Plaintiff, the very party to whom Blackstone and Spear owed a fiduciary duty.
9          186. In particular, Spear acknowledges her breach of fiduciary duties in
10   statements and interviews she gave to various media outlets.
11         187. Specifically, in the Miami Hustle Series podcast, entitled “042: The
12   FIGS story – Trina Spear and making healthcare more comfortable for everyone,”
13   Spear stated regarding the origins of FIGS while she was at Blackstone:
14
                  She [Heather] had just had the idea for it. And I said
15
                  Scrubs, that's interesting because we [Blackstone] were
16                looking to acquire the largest company in the industry.
                  So I had sent Heather the like 300 page report that I
17
                  had worked on and she was like “what is this?” “how
18                do you have this?” So it was very fascinating I think for
                  her to see – you know – a lot of information about the
19
                  market and the players that are in the market, not from a
20                primary perspective which is mainly what she was
                  working with.
21
22         188. Further, Spear stated in an interview with Refresh Miami on April 8,
23   2018 that she sent “super confidential” Blackstone materials to Hasson in violation
24   of Blackstone’s Code of Ethics. Specifically, Spear stated in a YouTube video of
25   that interview as follows:
26                “I’m in New York, was working at Blackstone. I did a
27                private equity deal in the medical apparel space.
                  Random. Sent her [Hasson] all the materials I’d
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1                 worked on. That can’t leave this room. They are super
                  confidential. I will end up somewhere, so, everyone do
2
                  not Tweet about that . . . So, we talked on a Monday.
3                 Fly out to LA on a Friday. We start working together.
                  Spent about 6 months. Wait until I get my bonus at
4
                  Blackstone. Liquidate my 401(k). Move to LA. Put all
5                 my money into the business.”
6    (Emphasis added.)
7          189. Plaintiff is informed and believes, and, on that basis, alleges that
8    Blackstone, or its agents, representatives, or employees, failed to appropriately
9    supervise Spear and/or to take appropriate measures to ensure that Spear
10   maintained Blackstone’s fiduciary duty to Plaintiff.
11         190. Plaintiff is informed and believes, and, on that basis, alleges that
12   Spear’s actions was for her own benefit, and she was acting outside the course and
13   scope of her employment at Blackstone when she converted and used the
14   Confidential Information. Spear’s wrongful actions and breach of her fiduciary
15   duty was for the purpose of and to benefit and enrich herself and her co-
16   conspirators, Hasson and FIGS, who aided and abetted her. Plaintiff is informed
17   and believes, and, on that basis, alleges that Spear’s actions were not taken at the
18   direction of Blackstone, and Spear acted beyond the scope of the authority and
19   consent given to her by Blackstone.
20         191. Plaintiff is informed and believes, and, on that basis, alleges that
21   Spear agreed to abide by Blackstone’s Code of Ethics, which prohibited Spear
22   from disclosing “any Confidential Information to any person except in
23   furtherance of the business of the Firm,” and from making “use of any
24   Confidential Information except in the business of the Firm and in a manner
25   which at all times is intended to serve the interests of the Firm. . . .”
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1          192. Plaintiff is informed and believes, and, on that basis, alleges that
2    Spear and Blackstone entered into an employment agreement and/or additional
3    agreements setting forth Spear’s obligations to Blackstone as its employee.
4          193. As a result of Spear’s breach of her fiduciary duty, Plaintiff has been
5    severely harmed and damaged, in the form of, among other things, lost sales,
6    revenue, and profits.
7          194. Spear’s breach of her fiduciary duty was a substantial factor in
8    causing Plaintiff’s harm as Plaintiff would not have lost sales, revenue, and profits
9    but for Spear’s conversion and use of Confidential Information that she used to
10   form FIGS and compete against Plaintiff..
11         195. Plaintiff has suffered damages by reason of the above in an amount in
12   excess of the minimum jurisdiction of this Court, to be proven at the time of trial.
13         196. Spear’s conduct was undertaken with malice, oppression and/or fraud,
14   and was willfully, maliciously and oppressively committed, warranting the
15   imposition of punitive damages against her for the reasons set forth herein. As
16   discussed above, Spear knew that her actions were in violation of her fiduciary
17   duties, and, nevertheless, she intentionally and knowingly disregarded her
18   fiduciary duties to personally benefit at the expense of her client. Further, Spear
19   knowing and intentionally breached her ethical obligation set forth under
20   Blackstone’s Code of Ethics by stealing and converting the Confidential
21   Information.
22         197. By engaging in the conduct set forth above in violation of her
23   fiduciary duties, Spear has unjustly enriched herself by using this information to
24   create and operate FIGS, thus lowering operation and start-up costs which allowed
25   her to secure larger profits as the owner and co-founder of FIGS. Spear would not
26   have gained these economic advantages but for her misconduct.
27   ///
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1          198. As a result of Spear’s misconduct, Plaintiff has lost sales, revenue,
2    and profits to FIGS.
3          199. Plaintiff seeks restitution and disgorgement of Spear’s ill-gotten
4    profits and monies she has unjustly obtained at Plaintiff’s expense.
5                              EIGHTH CAUSE OF ACTION
6                     Aiding and Abetting Breach of Fiduciary Duty
7                           (As to Defendants Hasson and FIGS)
8          200. Plaintiff re-alleges and incorporates by reference each of the
9    numerical paragraphs both above and below as if fully set forth herein.
10         201. At all relevant times, Hasson and FIGS knew or should have known
11   that Blackstone, and, by extension, Spear, owed a fiduciary duty to Plaintiff.
12         202. At all relevant times, Hasson and FIGS knew or should have known
13   that Spear was employed by Blackstone and owed a fiduciary duty to its clients
14   and entities for which it sat on the board of directors, including Plaintiff.
15         203. Hasson and FIGS were aware that Blackstone was Plaintiff’s business
16   partner and sat on its board of directors. Hasson and FIGS knew that Blackstone
17   and Spear were entrusted with handling sensitive information and data owned by
18   Plaintiff, such as the Confidential Information.
19         204. Plaintiff is informed and believes, and, on that basis, alleges that
20   Hasson and FIGS willingly received and used Plaintiff’s Confidential Information
21   for their own benefit and advantage. Plaintiff is informed and believes, and, on
22   that basis, alleges that Hasson and FIGS knew they did not have Plaintiff’s consent
23   or authorization to access, possess, or use the Confidential Information. In fact,
24   Spear has stated in a podcast interview that after she gave the 300-page
25   confidential Blackstone report she worked on to Hasson, Hasson replied, “what is
26   this?” and “how do you have this?”
27   ///
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1             205. Plaintiff is informed and believes, and on that basis alleges, that
2    Hasson and FIGS aided and abetted Spear in releasing Plaintiff’s information and
3    data to Hasson and FIGS, and Hasson and FIGS knowingly and willingly received
4    same, for purposes of creating a competing business in the medical apparel
5    industry.
6             206. To the extent that Spear committed any wrongdoing in her role as
7    promoter of the business that operates as FIGS, Hasson and Spear, as the co-
8    founders, co-owners, and co-CEOs of FIGS, and FIGS itself, are the successors in
9    interest to those wrongful acts and therefore liable.
10            207. As a direct and proximate result of the aforementioned breaches of
11   fiduciary obligations, and Hasson and FIGS aiding and abetting of those breaches,
12   Hasson and FIGS have benefited from these wrongful actions at the expense of
13   Plaintiff.
14            208. As a direct and proximate result of the aforementioned breaches of
15   fiduciary obligations, and Hasson and FIGS aiding and abetting of those breaches,
16   Plaintiff has sustained and will incur damages, including damages reflecting lost
17   business, lost profits, and damage to its goodwill, in an amount to be proven at
18   trial.
19            209. Plaintiff has suffered and will continue to suffer irreparable harm and
20   will continue to suffer such injury until the breaches are preliminarily and
21   permanently enjoined.
22            210. Plaintiff has suffered damages by reason of the above in an amount in
23   excess of the minimum jurisdiction of this court, to be proven at the time of trial.
24            211. Hasson and FIGS’s conduct were undertaken with malice, oppression
25   and/or fraud, and was willfully, maliciously and oppressively committed,
26   warranting the imposition of punitive damages against Defendant for the reasons
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1    set forth herein. Plaintiff thus seeks punitive damages against Defendant for her
2    willful, wanton and malicious behavior as set forth herein.
3          212. By engaging in the conduct set forth above, Spear has unjustly
4    enriched herself by using this information to create and operate FIGS, thus
5    lowering operation and start-up costs which allowed her to secure larger profits as
6    the owner and co-founder of FIGS. Spear would not have gained these economic
7    advantages but for her misconduct. Plaintiff is informed and believes, and, on that
8    basis, alleges that Spear, Hasson, and FIGS have gained millions of dollars
9    personally as a result of their wrongful conduct.
10         213. As a result of Hasson’s and FIGS’s misconduct, Plaintiff has lost
11   sales, revenue, and profits to FIGS.
12         214. Plaintiff seeks restitution and disgorgement of Hasson’s and FIGS’s
13   ill-gotten profits and monies she has unjustly obtained at Plaintiff’s expense.
14                                 PRAYER FOR RELIEF
15         WHEREFORE, Plaintiff prays for Judgment against Defendants as follows:
16         1.     A preliminary and permanent injunction requiring Defendant to
17   discontinue advertising, marketing, packaging, disseminating, using and otherwise
18   making false and misleading statements about Defendant FIGS’s products.
19         2.     Injunctive relief requiring Defendant to provide citation in future
20   advertisements supporting any scientific or health claims it makes regarding its
21   FIGS Products or the fabric used in its FIGS Products.
22         3.     Compensatory damages;
23         4.     Treble damages pursuant to 15 U.S.C. § 1117(a);
24         5.     Punitive damages;
25         6.     Restitution;
26         7.     Actual damages;
27         8.     Disgorgement of profits;
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1         9.    Interest at the legal rate per annum;
2         10.   All costs of suit;
3         11.   Such other and further relief as this Court deems just and proper; and
4         12.   Attorneys’ fees.
5
6                             DEMAND FOR JURY TRIAL
7         Plaintiff hereby demands a trial by jury on its claims.
8
9    Dated: August 17, 2020                MICHELMAN & ROBINSON, LLP
10
11                                         By:   /s/ Marc R. Jacobs
                                                 Mona Z. Hanna
12                                               Jeffrey D. Farrow
                                                 Marc R. Jacobs
13                                               Robert D. Estrin
                                                 Kevin S. Kim
14                                               Attorneys for Plaintiff
                                                 STRATEGIC PARTNERS, INC.
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